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       In the United States Court of Federal Claims
                                      No. 11-869C

                                 (Filed: March 21, 2014)

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CAROLINA POWER & LIGHT CO., et al.,    *
                                       *
                    Plaintiffs,        *
                                       *
 v.                                    *
                                       *
THE UNITED STATES,                     *
                                       *
                    Defendant.         *
                                       *
************************************** *

                          ORDER AMENDING JUDGMENT
      On March 19, 2014, counsel for the Plaintiffs filed a motion to alter or amend the
Court’s March 13, 2014 Judgment that Plaintiffs recover $103,748,230.14 from the
United States. (Dkt. No. 61). Counsel for the Government concurs with the motion. By
agreement of the parties, the Court hereby adopts the following two adjustments.

       First, in its March 10, 2014 opinion, the Court ruled that Plaintiffs’ damages claim
of $104,991,508 should be reduced by $162,927 for indirect costs identified by the
Government’s expert that are attributable to direct costs that had been voluntarily
removed from the claim by Plaintiffs. (Dkt. No. 60). However, the Plaintiffs’ adjusted
claim amount of $104,991,508 already reflected the voluntary deduction of this amount.
The Judgment is corrected so that only one deduction is taken.

       Second, the Court removed $107,452 in indirect costs from Plaintiffs’ damages
calculation when it denied Plaintiffs’ claim for the Brunswick Computer System
Replacement. However, the Government’s expert estimated indirect costs related to the
computer system upgrade to be $237,877. Plaintiffs do not dispute this calculation.
Therefore, Plaintiffs’ claim is reduced by an additional $130,425.
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       Accordingly, the Court increases Plaintiffs’ damages award by the net difference
of these adjustments ($162,927−$130,425 = $32,502), to $103,780,732.14. The Clerk is
directed to enter an amended judgment.

      IT IS SO ORDERED.
                                               s/ Thomas C. Wheeler
                                               THOMAS C. WHEELER
                                               Judge




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